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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE
                                          DIVISION

                                        Case. No.: 0:15-cv-61213-BB



 HOLLY LIVELY,
 on behalf of herself and all others similarly situated,

 Plaintiff,

 v.

 CARIBBEAN CRUISE LINE, INC., a Florida
 Corporation, and DOES 1 through 20,
 inclusive, and each of them,

 Defendants.
                                                    /

                            NOTICE OF WITHDRAWAL OF COUNSEL

         PLEASE TAKE NOTICE that R o b e r t                    S.    Boulter         hereby withdraws as

 counsel for De fe nd a nt Ca r ib be a n Cr u is e L i n e, I nc.         Mr . Bo u lt er , a C a l i fo r n i a

 l ic e ns e d la w yer , ser ve d a s lo ca l co u nse l whe n t h is mat t er wa s p e n d in g in t he

 E ast er n D ist r ict o f Ca l i fo r n ia . No w t hat t h e ca s e h a s b ee n t r a n s fe r r ed t o t he

 S o u t her n D ist r ict o f F lo r id a, C ar ib b e a n Cr u is e L i n e s c a n be r ep r e se nt ed b y

 it s F lo r id a Co u ns e l wit ho ut t he need fo r a Califo rnia lo cal co unsel. Mr. Bo ult er

 and Car ib b e a n Cr u is e L i ne s co n se nt t o t h is w it hd r aw a l a nd C ar ib be a n C r u is e

 L i n e s will continue to be represented in this action by Greenspoon Marder.

 Dated: July 10, 2015                               Respectfully submitted,

                                                    _/s/Richard W. Epstein
                                                       Richard W. Epstein, Esq.
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                                     CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on July 10, 2015, I electronically filed the foregoing
      document with the Clerk of the Court using the CM/ECF filing system. I also certify that the
      foregoing document is being served this date on all counsel of record or pro se parties on the
      Service List below in the manner specified, either via transmission of Notices of Electronic
      Filing generated by the CM/ECF system or; in some other authorized manner for those counsel
      or parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                 /s/ Richard W. Epstein



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